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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                20-CR-79-V

SEMAJ PIGRAM,

                     Defendant.



                 GOVERNMENT’S RESPONSE IN OPPOSITION
               TO THE DEFENDANT’S MOTION TO RELEASE THE
               GRAND JURY MINUTES AND COMPEL DISCOVERY


       THE UNITED STATES OF AMERICA, through its attorney, James P. Kennedy,

Jr., United States Attorney for the Western District of New York, Seth T. Molisani, Assistant

United States Attorney, of counsel, hereby files its response in opposition to defendant

SEMAJ PIGRAM’s June 21, 2020 motion seeking release of the grand jury minutes and

seeking the Court to compel discovery (Dkt. 10, 10-1). For the reasons set forth below, the

defendant’s motion should be denied in its entirety.




                           I.     FACTUAL BACKGROUND

       The defendant, SEMAJ PIGRAM, along with co-defendants Deyanna Davis and

Walter Stewart, are charged in a three-count Indictment with felon in possession of a firearm

in violation of 18 U.S.C. §§ 922(g)(1) and 2. The Indictment was returned by a federal grand

jury on June 4, 2020. The prosecution is premised on events which occurred on June 1, 2020.

On June 18, 2020, arraignment of the defendant was held before the Hon. Jeremiah J.
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McCarthy, Magistrate Judge for the Western District of New York. At that time, the Court

inquired whether the Government was seeking detention of the defendant. The Government

affirmed and moved for the defendant’s detention and provided the statutory basis for seeking

detention, specifically 18 U.S.C. § 3142(f)(1)(E) (“any felony that is not otherwise a crime of

violence that…involves the possession or use of a firearm…”). Though all three defense

attorneys asked for an adjournment of the detention hearing, the Court and the defense

attorneys insisted that the Government provide a factual basis for seeking detention.

Compelled to provide a preliminary synopsis of the underlying facts, the Government

proffered an outline of the proof. In so doing, the Government advised the Court and the

defendants that it would reserve additional information until the appropriate time for the

Government proffer, i.e., the time of the respective detention hearings.



                                 II.     LEGAL DISCUSSION

   A.      THE DEFENDANT FAILS TO DEMONSTRATE COMPELLING
           NECESSITY TO JUSTIFY RELEASE OF THE GRAND JURY MINUTES
           THROUGH SPECIFIC AND CONCRETE FACTUAL ALLEGATIONS

        Maintaining the secrecy of grand jury proceedings is a tradition in the United States

that pre-dates the birth of the nation itself. In re Petition of Craig, 131 F.3d 99, 101 (2d Cir.1997)

(citing In re Biaggi, 478 F.2d 489, 491 (2d Cir.1973)). Federal Rule of Criminal Procedure 6(e)

codifies the rule of secrecy, which has multiple purposes, including:

        (1) [t]o prevent the escape of those whose indictment may be contemplated;
        (2) to insure the utmost freedom to the grand jury in its deliberations, and to
        prevent persons subject to indictment or their friends from importuning the
        grand jurors; (3) to prevent subornation of perjury or tampering with the
        witnesses who may testify before [the] grand jury and later appear at the trial
        of those indicted by it; (4) to encourage free and untrammeled disclosures by
        persons who have information with respect to the commission of crimes;
        [and] (5) to protect [the] innocent accused who is exonerated from disclosure


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       of the fact that he has been under investigation, and from the expense of
       standing trial where there was no probability of guilt.

Craig, 131 F.3d at 102 (quoting United States v. Procter & Gamble Co., 356 U.S. 677, 681–82 n.

6 (1958). The Supreme Court has noted that secrecy also “encourage[s] all witnesses to step

forward and testify freely without fear or retaliation” because “[t]he grand jury as a public

institution serving the community might suffer if those testifying today knew that the secrecy

of their testimony would be lifted tomorrow.” Procter & Gamble Co., 356 U.S. at 682.



       Despite the strong presumption in favor of such secrecy, a district court may authorize

disclosure of a grand-jury matter “at the request of a defendant who shows that a ground may

exist to dismiss the indictment because of a matter that occurred before the grand jury.”

Fed.R.Crim.P. 6(e)(3)(E)(ii). The defendant must satisfy a heavy burden of showing that

“compelling necessity” outweighs countervailing public policy in order to disturb the

presumption of the “indispensable secrecy of grand jury proceedings.” Procter & Gamble Co.,

356 U.S. at 682. The burden on the defense is onerous. See, e.g., United States v. Ayeki, 289 F.

Supp. 2d 183, 186 (D. Conn. 2003) (“grand jury proceedings ‘carry a ‘presumption of

regularity,’” and ‘a review of grand jury minutes is rarely permitted without specific factual

allegations of government misconduct’” (quoting Torres, 901 F.2d at 232-33); see also United

States v. Richards, 94 F. Supp.2d 304, 314 (E.D.N.Y. 2000)(“The strong presumption of

regularity in grand jury proceedings cannot be outweighed by purely conclusory or speculative

allegations of misconduct.”).



       As a result, in this Circuit, “[a] review of grand jury minutes is rarely permitted without

specific factual allegations of government misconduct.” United States v. Torres, 901 F.2d 205,


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233 (2d Cir. 1990) (citations and internal quotations omitted); see United States v. Leung, 40

F.3d 577, 582 (2d Cir.1994) (“A review of grand jury minutes should not be permitted without

concrete allegations of government misconduct.”); United States v. Basciano, 763 F.Supp.2d

303, 315 (E.D.N.Y.2011) (“It is axiomatic that ‘grand jury proceedings are accorded a

presumption of regularity, which generally may be dispelled only upon particularized proof

of irregularities in the grand jury process.’”) (quoting United States v. Tranquillo, 606 F.Supp.2d

370, 381 (S.D.N.Y.2009)). The defendant has failed to meet the particularized need test as

disclosure is clearly not intended to be a discovery or particularization device.



       The defendant moves for the release and inspection of the grand jury minutes because

of “concerns regarding how the Indictment was procured.” Dkt. 10-1, p. 6. Based on the

preliminary and incomplete recitation of the Government’s basis for detention at the time of

the defendant’s arraignment, the defendant claims that there are “questions regarding how

probable cause was established regarding “knowing possession.” Id. at ¶ 16. Based on the

purported “absence of [ ] facts,” the defendant requests the Court authorize disclosure of the

grand jury minutes and instructions that discuss “knowing possession” and “aiding and

abetting.” Id. at p 7. The defendant claims he has shown a “particularized need” without

actually providing any concrete facts to support that contention. Instead, the defendant relies

upon the absence of facts to support his contention (e.g., “It is completely unclear how [the

charge] was established based upon the discovery provided to the defense, open-source

materials in the news, and the government’s detention proffer.” Dkt. 10-1 at ¶ 22).



       The defendant falls far short of satisfying the heavy burden of showing compelling



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necessity through specific and concrete factual allegations, particularly because “[g]rand jury

proceedings carry a presumption of regularity.” See Torres, 901 F.2d at 232 (internal quotation

marks and citations omitted). Here, the defendant does not allege any specific Government

misconduct or set forth any factual allegations that the grand jury proceedings were tainted.

On the contrary, the defendant argues that the Court should release and allow the defendant

to review the grand jury minutes so he can determine whether any irregularities occurred. Dkt.

10-1 at ¶ 25.



       In Basciano, the court denied a motion to compel the production of grand jury minutes

because it was based entirely on conjecture, rather than fact. 763 F.Supp.2d at 316. There, the

defendant speculated that the government’s attorney may have been supervising the

presentation of evidence to the grand jury in a related case. Id. The court found that

defendant’s “unfounded assumptions” and “series of conjectural statements” were

“insufficient to satisfy the particularized showing required to overcome grand jury secrecy, let

alone to require the dismissal of the indictment.” Id.



       In the instant case, the defendant offers even less than that which the Basciano court

found to be insufficient; indeed, he does not allege a single non-speculative impropriety to

support his request. Accordingly, defendant’s motion for release and review of the grand jury

minutes should be denied. See, e.g., Ordaz–Gallardo, 520 F.Supp.2d 516, 519-20

(S.D.N.Y.2007) (denying motion to disclose grand jury materials because defendants offered

“little more than speculation that some impropriety may have occurred before the grand jury,”

which fell “well short of the ‘particularized need’ ” required under well-settled law); United



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States v. Corbin, No. 09 CR 00354, 2009 WL 4505513, at *4 (E.D.N.Y. Dec. 1, 2009) (denying

defendant’s motion for review of grand jury proceedings because defendant failed to

demonstrate specific occurrences of government misconduct).



        The defendant’s request for examination of the grand jury transcripts is nothing more

than a fishing expedition which seeks to pierce the veil of secrecy that protects grand jury

proceedings. The reasons set forth in the defendant’s motion certainly do not rise to the level

of a “compelling necessity” sufficient to overcome the Government’s need for grand jury

secrecy. The defendant’s unsupported speculation about possible grand jury abuses is far from

sufficient to merit disclosure of grand jury materials to either the Court or the defendant.



        Furthermore, now that the Government’s actual detention proffer has been completed,

the evidence is clear how, even in the absence of DNA evidence, the defendant’s constructive

possession of the firearm could be established. For these reasons, the defendant’s motion for

release and review of the grand jury transcripts should be denied.



   B.      THE DEFENDANT IS NOT ENTITLED TO PRE-DETENTION HEARING
           DISCOVERY AND, IN ANY EVENT, THE ISSUE IS MOOT

        Next, the defendant requests that the Court order the Government to provide aerial

surveillance footage obtained by law enforcement during the course of the June 1, 2020

incident. Dkt. 10-1 at ¶ 26. The defendant cites no legal authority for his demand. Stated

succinctly, the defendant is simply not entitled to discovery prior to a detention hearing. As

the Second Circuit made clear more than 30 years ago: “[A] detention hearing is not to serve

as a mini-trial . . . or as a discovery tool for the defendant.” United States v. Matir, 782 F.2d


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1141, 1145 (2d Cir. 1986); see United States v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000)

(“It is well established in this circuit that proffers are permissible both in the bail determination

and bail revocation contexts.” (citations omitted)). If the court questions the Government’s

information, it should “selectively insis[t] upon the production of underlying evidence or

evidentiary sources.” Id. at 1147.



       The Government is under no obligation to provide discovery in advance of a detention

hearing. As explained by the Government, the prosecution did not wish to turn the detention

hearing into a mini-trial. That is not the purpose of a detention hearing. The Government

provided counsel much more in the way of discovery than is typically given at this stage of a

criminal proceeding, including, but not limited to, the Erie County Central Police Services

Laboratory reports related to DNA comparison on the recovered firearm, firearm operability

testing, ballistics comparisons, and the defendant’s recorded interview with law enforcement.

Because the defendant is not entitled to pre-detention hearing discovery, the Court should

deny the defendant’s motion to compel discovery.



       In any event, the detention hearing for the defendant was commenced today and the

Government played a compilation video of the June 1, 2020 incident which included the

relevant aerial surveillance footage captured by law enforcement and referenced by the

defendant in his motion. The defendant has now had the opportunity to view several portions

of the video repeatedly and the opportunity to view the aerial footage he sought. As a result,

the defendant’s motion to compel production of the aerial footage is moot.




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                                   III.   CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should

deny the defendant’s motion in its entirety.



       DATED: Buffalo, New York, June 25, 2020.



                                           JAMES P. KENNEDY, JR.
                                           United States Attorney


                                    BY:    s/SETH T. MOLISANI
                                           Assistant United States Attorney
                                           United States Attorney’s Office
                                           Western District of New York
                                           138 Delaware Avenue
                                           Buffalo, New York 14202
                                           716/843-5881
                                           Seth.Molisani@usdoj.gov




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